Case 2:05-cr-20173-SH|\/| Document 20 Filed 08/09/05 Page 1 of 2 Page|D _26_

 

IN THF.. UNITED sTA'rEs DISTRICT couR'r LED ay
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UNITED sTATES oF AMERICA, medm{'%§m$;?l€m(lm

Plaintiff,
vs. CR. NO. 05-20173-Ol-Ma

MARCUS CROCKETT,

Defendant.

 

ORDER ON CHANGE OF PLEA

 

This cause came on to be heard on August 5, 2005, the United
States Attorney for this district appearing for the Government and
the defendant, Marcus Crockett, appearing in person and. with
appointed counsel, Mr. J. Patten Brown, III.

With leave of the Court, the defendant entered a plea of
guilty to Count l of the Indictment. Plea colloquy was held and
the Court accepted the guilty plea.

Sentencing in this matter is set for Tuesday, November 8, 2005
at 9:00 a.m.
The defendant is remanded to the custody of the United States

Marshal.

ENTERED this the §§Ld` day of August, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

This document entered on the docket sheet in compliance
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J. Patten BroWn

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Honorable Samuel Mays
US DISTRICT COURT

